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                                 UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF MISSISSIPPI


IN RE: Paul David Howard                                          CHAPTER           7
                                                                  CASE NO.          19-10783-JDW


                                      MOTION TO REINSTATE CASE

       COMES NOW the Debtor, by and through counsel, and files this Motion to Reinstate Case and
would show as follows:
 1. Debtor filed case no. 19-10783 on February 25, 2019.
 2. Debtor’s schedules, and Form 122A-1, the creditor matrix was filed March 26, 2019. Also, the
    creditors were uploaded to the court data base. The Meeting of Creditors was set for May 2, 2019.
 3. Counsel’s paralegal did not note the 45-day deadline for documents to the trustee on her calendar
    and did not get documents to the trustee in time and the Trustee filed a Notice of Non-Compliance
    of Pay Advices. This debtor does not have pay advices; but an affidavit will be sent to the Trustee
    in lieu of pay advices. Debtor is required to file a tax return and this will be sent to the Trustee as
    well.
       WHEREFORE PREMISES CONSIDERED Debtor prays for an Order Reinstating Case.
       RESPECTFULLY SUBMITTED this the 30th day of April, 2019.



                                                                  Paul David Howard

                                                          BY:     /s/ James H Arnold jr
                                                                  JAMES H ARNOLD JR


JAMES H ARNOLD JR
435 E. Beacon Street
Philadelphia, MS 39350
Email: jalaw.philly@gmail.com
Email: rosetta.jarnoldlaw@gmail.com
Telephone: 601-656-6914
Fax: 601-656-6958
